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                      IN THE UNITED STATES DISTRICT COURT                               ,

                     FOR THE WESTERN DISTRICT OF VIRGINIA                     November 19, 2024
                           CHARLOTTESVILLE DIVISION                           %,,% !, ,,,,,,,,,,
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 Claude David Convisser                         )
                                                )
                       and                      )
                                                )
 POP Diesel Africa, Inc.,                       )         Civil Action No. 3:24-cv-00072
                                                )
                       Plaintiffs,              )
                                                )
 v.                                             )
                                                )
 Exxon Mobil Corporation et al.,                )
                                                )
                       Defendants.              )


                      MEMORANDUM OPINION AND ORDER

        Plaintiff Claude David Convisser has recently filed a motion for leave to file a second

amended complaint (Dkt. 117), numerous requests to further revise his proposed second

amended complaint (Dkts. 119, 120, 122, 150, 151, 152), motions related to discovery and

evidentiary exhibits (Dkts. 139, 141), and several subpoenas (Dkts. 135–38, 145–49.) Certain

Defendants have responded by renewing their earlier request for a stay of all proceedings

except for briefing and argument on Defendants’ motions to dismiss (Dkt. 133). For the

reasons outlined below, the court denies Defendants’ renewed motion for a stay. This

Memorandum Opinion and Order also clarifies certain unresolved questions related to

Convisser’s filings, the parties’ briefing schedule for those motions, and initial discovery

deadlines.
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                                    I.      Background

       Convisser, serving as counsel for himself and POP Diesel Africa, Inc., initiated this

lawsuit on September 9, 2024. (Compl. (Dkt. 1).) He alleges several causes of action, which

fall into two categories. The first set of claims allege that Defendants engaged in a sweeping

business conspiracy in violation of the federal Racketeer Influenced and Corrupt

Organizations (“RICO”) Act and Virginia state law. (Id. ¶¶ 327–54.) The second category

consists of state-law claims regarding power-of-attorney, guardianship, and conservatorship

arrangements for Claude Convisser’s elderly parents, Martin and Colette Marie Convisser. (Id.

¶¶ 355–448.)

       On September 11, Convisser filed a motion for a temporary restraining order (“TRO

motion”) and a motion seeking leave to conduct early depositions. (Dkts. 31, 32.) The court

denied the TRO motion without prejudice for failing to comply with Federal Rule of Civil

Procedure 65(b). (Dkt. 35.) On September 19, Convisser filed a renewed TRO motion and

requested full briefing and a hearing on the motion. (Dkt. 37.)

       On September 26, a group of Defendants moved to stay all deadlines and proceedings

other than those related to Defendants’ anticipated motions to dismiss. (Dkt. 61.) Shortly

thereafter, several Defendants filed motions to dismiss. (Dkts. 70, 72, 74, 77.) On October

11, the court granted the motion for a stay in part and denied in part. (Dkt. 86.) The court

extended the deadlines for responding to Convisser’s two motions until after the court

resolved Defendants’ motions to dismiss. (Id. at 4.) It denied Defendants’ request for a

broader stay of proceedings, but it noted that it would consider similar extensions of briefing

deadlines for any additional motions Convisser might file while Defendants’ motions to


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dismiss remain pending. (Id.)

         Convisser filed an amended complaint on October 17, before the deadline for

amending as a matter of course. (Dkt. 100); see Fed. R. Civ. P. 15(a)(1)(B). The amended

complaint added numerous factual allegations, named several new Defendants, and removed

some others. (See Dkt. 100.) Convisser then filed two “corrected” versions of his amended

complaint on October 18. (Dkts. 101, 111.) On October 22, the court issued an oral order

denying Defendants’ motions to dismiss as moot in light of Convisser’s amended complaint.

(Dkt. 115.)

         On October 24, Convisser moved for leave to file a second amended complaint. (Dkt.

117.) In the week that followed, he filed three additional “notices” that attempted to substitute

new proposed amended complaints in place of the one he attached to his motion for leave.

(Dkts. 119, 120, 122.) On November 7, certain Defendants filed two separate responses

opposing Convisser’s motion for leave to amend. (Dkts. 131, 132.)

         On October 31, a total of ten Defendants filed motions to dismiss Convisser’s

amended complaint. (Dkts. 124, 126, 128.) Ten additional Defendants filed motions to

dismiss on November 15, and one more moved to dismiss on November 18. 1 (Dkts. 158,

162, 164, 169.) The remaining named Defendants have moved for extensions of time to

answer the amended complaint. (Dkts. 108, 116, 155, 161.) Those motions are currently

pending before U.S. Magistrate Judge C. Kailani Memmer.

         On November 11, Defendants filed a renewed motion for a stay, which again asks the


1 Several of these Defendants had received extensions to respond to Convisser’s original complaint. (See Dkts. 67, 76.) At

the time Convisser filed his amended complaint, they had not filed a responsive pleading. Because these Defendants
responded to the amended complaint by their extended deadline for responding to the original complaint, the court will
treat their motions as timely filed.

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court to stay all proceedings except briefing and argument on the motions to dismiss. (Dkt.

133.) The same day, Convisser filed two additional motions: (1) a motion for a protective

order governing the pretrial filing and disclosure of POP Diesel Africa’s investment

prospectus (Dkt. 139), and (2) a motion in limine to recognize a learned treatise (Dkt. 141).

Convisser informed the court that he does not seek a ruling on his motion in limine at this

time. (Id. at 1.) On November 11 and 12, Convisser also filed copies of subpoenas he issued

to several non-parties. (Dkts. 135–38, 145–49.)

         Most recently, on November 13, Convisser filed a request to make further amendments

to his proposed second amended complaint. (Dkts. 150, 151, 152.) The further amendments

would add several defendants and new factual allegations, including allegations about

additional events that occurred since he filed his motion for leave to amend. (Dkt. 152 at 3–

4.) Convisser then filed the revised version of his proposed second amended complaint on

November 17. (Dkt. 166-1.) 2

                                                  II.      Analysis

    A. Operative Version of Amended Complaint

         The court first confirms that the amended complaint Convisser filed on October 17,

2024, (Dkt. 100) is currently the operative complaint. It was Convisser’s first amendment to

his complaint, and he filed it within 21 days of receiving service of Defendants’ original




2 In another filing, Convisser indicated that he is amassing and plans to submit evidence to support his opposition to the

pending motions to dismiss. (See Dkt. 156 at 2–3.) Convisser need not submit any evidence contradicting the arguments
in the motions to dismiss. With a couple limited exceptions, Defendants did not attach any materials outside the pleadings
to support their motions to dismiss, so the court will not treat any of the motions to dismiss as a motion for summary
judgment. See, e.g., Carter v. Balt. Cnty., Md., 39 F. App’x 930, 933 (4th Cir. 2002).

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motions to dismiss, so he was entitled to file the amendment as a matter of course. See Fed.

R. Civ. P. 15(a)(1)(B).

         After amending his complaint once as a matter of course, Convisser may make further

amendments only with the court’s leave. See Fed. R. Civ. P. 15(a)(2). Thus, the two

“corrected” versions of the amended complaint Convisser filed on October 18 (Dkts. 101,

111) did not automatically supersede the amended complaint. Rather, Convisser could file

them only with the court’s leave. 3 But the court need not address those filings, as Convisser

later filed a formal motion for leave to amend and attached a proposed second amended

complaint containing further revisions.

         It appears that Convisser has not yet served four individuals named as Defendants in

his amended complaint (Dkt. 100): Parth S. Tewari, Anandha Kumar Deekaram, Victor M.

Glasberg, and James L. Bicksel. Convisser is directed to serve those parties on or before the

deadline established by Rule 4(m) and file proof of service with the court.

    B. Motion for Leave to File Second Amended Complaint

         Convisser filed his formal motion for leave to amend—with a proposed second

amended complaint attached—on October 24. (Dkt. 117.) He then filed three “notices” that

attempt to substitute new versions of the second amended complaint for the one he attached

to his motion for leave. (Dkts. 119, 120, 122.) And most recently, Convisser filed another

motion requesting that the court allow him to substitute a “well-defined and final” version of




3 The court reminds Convisser that “[a] request for a court order must be made by motion.”   Fed. R. Civ. P. 7(b). Moving
forward, the court may strike filings if they fail to conform to the Federal Rules.

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his proposed second amended complaint. (Dkt. 152 at 4.) Convisser filed that version on

November 17. (Dkt. 166-1.)

         The court will treat the version Convisser filed on November 17 (Dkt. 166-1) as his

proposed second amended complaint for purposes of resolving his motion for leave to amend

(Dkt. 117). 4 If Defendants oppose the newest proposed amendment, they are directed to file

a response within 14 days of receiving service of that document.

         Moving forward, the court will not accept any further revisions to Convisser’s

proposed second amended complaint before resolving the motion for leave to amend. It will

rely on Convisser’s representation that his latest proposed second amended complaint is the

“final” version. (Dkt. 152 at 4.) To date, Convisser’s repeated revisions have caused little

prejudice to Defendants—only two groups of Defendants filed responses to his October 24

motion for leave to amend, and requiring them to refile a response addressing Convisser’s

latest revisions will not impose any undue burden. But the court must resolve the motion for

leave to amend, and, at this point, allowing Convisser to continue submitting changes to his

proposed second amended complaint would only delay briefing and a decision on that motion.

    C. Briefing and Discovery Deadlines

         Per the court’s October 11, 2024 memorandum opinion and order, Defendants do not

need to file responses to Convisser’s TRO motion or motion for leave to conduct early

depositions until after the court resolves Defendants’ motions to dismiss. In that order, the

court noted it “may consider extending briefing deadlines” for additional motions Convisser



4 The court reminds the parties that the proposed second amended complaint is not operative—and the proposed new

Defendants are not added as parties—unless the court grants Convisser leave to file it.

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might file before the court resolves Defendants’ motions to dismiss. (Dkt. 86 at 4.) The court

finds good cause for extending the briefing deadlines for Convisser’s motion for a protective

order and motion in limine beyond the date Defendants’ motions to dismiss are resolved. See

Fed. R. Civ. P. 6(b) (stating that “the court may, for good cause, extend [a deadline] with or

without motion if the court acts . . . before the original time or its extension expires.”). 5

         In addition, the court finds good cause for delaying both the deadline for issuing a Rule

16(b) scheduling order and the deadline for the parties to hold a Rule 26(f) conference. See

Fed. R. Civ. P. 16(b)(2); Fed. R. Civ. P. 26(f)(1). The court will issue a Rule 16(b) scheduling

order, if necessary, after resolving Defendants’ motion to dismiss. That order will set deadlines

for briefing on Convisser’s pending motions, the Rule 26(f) conference, and other discovery

obligations.

    D. Defendants’ Renewed Motion for a Stay

         Finally, the court will address the renewed motion for a stay filed by Defendants Julie

Convisser (individually and as Trustee of the Martin Convisser Trust), James P. Cox, III,

Hunter Wyant, John J. Davidson, Linden House LLC, Wial LLC, Cambridge Healthcare

Holdings, LLC, and Wende Duflon. (Dkt. 133.) Those Defendants ask the court to stay all

proceedings except for briefing and argument on the motions to dismiss. (Id. at 1.) They

argue that Defendants should not “have to bear the additional costs of dealing with

[Convisser’s] multiple filings and discovery antics until such time as the Court rules on” the

motions to dismiss, which they believe are likely to result in dismissal. (Id.)



5 To the extent that these extensions delay decisions on Convisser’s outstanding motions, the court notes that Convisser’s

repeated revisions to his motion for leave to amend have only contributed to that delay.

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        Defendants do not cite any authority suggesting that a stay of the remaining parts of a

case is appropriate merely to expedite the resolution of motions to dismiss filed in the same

case. The cases they cite involved requests to stay all proceedings in a case pending the

outcome of another case or some external event. See Landis v. N. Am. Co., 299 U.S. 248, 254

(1936); Stinnie v. Holcomb, 396 F. Supp. 3d 653, 658 (W.D. Va. 2019).

        Convisser’s repetitive filings understandably have created some confusion and delay in

the proceedings. In a couple instances, his filings will require Defendants to file (or refile)

motions or responsive briefs, which will result in some additional financial burden. But at this

juncture, the court cannot conclude that declining the motion for a stay will create any undue

burden or inequity for Defendants, especially given the extensions the court is granting for

Defendants’ responses. Importantly, this Memorandum Opinion and Order resolves several

concerns Defendants raised by (1) clarifying the version of Convisser’s proposed second

amended complaint the court will consider, (2) extending the briefing deadlines for Convisser’s

other pending motions, and (3) extending the deadline for the Rule 26(f) conference. 6

        Accordingly, the court will deny Defendants’ renewed motion for a stay. While it will

not bar Convisser from filing other motions before Defendants’ motions to dismiss are

resolved, the court emphasizes that it likely will extend the briefing deadlines for any additional

motions Convisser may file beyond the date it resolves the motions to dismiss.

                                            IV.      Conclusion

        For the reasons stated above, it is hereby ORDERED that:


6 In their memorandum of law supporting their renewed motion for a stay, Defendants also raised objections to the

subpoenas Convisser served on several non-parties. (Dkt. 134 at 3.) Defendants may file a motion to quash those
subpoenas.


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    The amended complaint Convisser filed on October 17, 2024 (Dkt. 100) is the
     operative version of the complaint.

    Convisser is directed to serve and file proof of service for the following parties named
     as Defendants in his amended complaint: Parth Tewari, Anandha Kumar Deekaram,
     Victor Glasberg, and James L. Bicksel.

    When resolving Convisser’s motion for leave to amend, the court will assess the
     proposed second amended complaint Convisser filed on November 17, 2024 (Dkt.
     166-1). It will not consider any further revisions to that proposed complaint.
     Defendants who wish to file a response to Convisser’s updated motion for leave to
     amend shall file a response within 14 days of receiving service of that document.

    The court finds good cause for delaying the issuance of a Rule 16(b) scheduling order
     until after the court resolves Defendants’ motions to dismiss.

    The deadline for the parties to hold a Rule 26(f) conference is extended until after the
     court resolves Defendants’ motions to dismiss.

    The briefing deadlines for Convisser’s renewed motion for a temporary restraining
     order (Dkt. 37) and motion for leave to conduct early depositions (Dkt. 32) remain
     extended until after the court resolves Defendants’ motions to dismiss.

    The briefing deadlines for Convisser’s motion for a protective order (Dkt. 139) and
     motion in limine (Dkt. 141) are extended until after the court resolves Defendants’
     motions to dismiss.

    Defendants’ renewed motion for a stay (Dkt. 133) is DENIED.

The Clerk is directed to forward a copy of this Order to all counsel of record and parties

proceeding pro se.

       ENTERED this 19th day of November, 2024.



                                                   /s/           Jasmine H. Yoon
                                                   ______________________________________________________________________________________________________________________________________________________________________________________________________________




                                                   HON. JASMINE H. YOON
                                                   UNITED STATES DISTRICT JUDGE




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